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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

BARBARA J. LEE, et al.,             )
                                    )
           Plaintiff,               )
                                    )
v.                                  )        Case No. 1:21-cv-00400 (APM)
                                    )
DONALD J. TRUMP, et al.,            )
                                    )
           Defendants.              )
                                    )

 STATEMENT AND POINTS OF AUTHORITY IN SUPPORT OF DEFENDANT
             DONALD J. TRUMP’S MOTION FOR STAY
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                                    INTRODUCTION

       Basic fairness to criminal defendants and principles of judicial economy

counsel that this Court should stay all proceedings concerning President Trump until

the criminal case brought by the Special Counsel in the District of Columbia is

resolved.

       Defendant Donald J. Trump (“President Trump”) is the 45th President of the

United States, the nominee of the Republican Party, and the leading candidate in the

2024 presidential election. Since leaving office, the Department of Justice under

President Trump’s successor and presumptive opponent in the 2024 presidential

election, Joe Biden, through the Special Counsel, brought several criminal charges

against President Trump. See United States v. Trump, No. 1:23-cr-00257 (D.D.C.).

       As this Court acknowledged, “the allegations in this case are essentially co-

extensive with what the Special Counsel has alleged.” Hr’g Tr. (Mar. 12, 2024) 18:21–

22. President Trump should not be forced to waive any of his constitutional rights in

this matter, nor prematurely telegraph his criminal defense strategies prior to the

completion of the criminal proceedings. The only way to adequately protect against

this prejudice to his legal position is to stay these proceedings with respect to

President Trump until the Special Counsel’s D.C. case is resolved, as is the common

practice for other defendants facing similar circumstances. See generally Order,

Smith v. Trump, No. 1:21-cv-02265 (APM) (D.D.C. Sep. 30, 2022) (staying proceedings

“in the interest of justice” due to “the overlapping defendants in [a criminal case] and

this [civil] one” and “the start of trial” in the criminal matter.).



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      The necessity of a stay is further reinforced by principles of judicial economy.

The issue of presidential immunity is the central issue at this stage in these

proceedings, and those same issues of presidential immunity also are currently

pending before the United States Supreme Court. See Order Granting Writ of Cert.,

Trump v. United States, No. 23-939 (S. Ct. Feb. 28, 2024). The Supreme Court’s

consideration and resolution of these fronts in the criminal context, and further

consideration by the district court upon remand, if necessary, are likely to be highly

relevant to the question of presidential immunity in civil cases presented in this

matter. Judicial economy would be better served by waiting until the Supreme Court

has ruled in Trump and the criminal matter is resolved than by pressing onward now

and running the substantial risk of being overcome by events in short order.

Proceedings in this matter should be stayed with respect to President Trump.

                                LEGAL AUTHORITY

      “The Court has the discretion to stay civil proceedings in the interest of justice

and ‘in the light of the particular circumstances of the case.’” Doe v. Sipper, 869 F.

Supp. 2d 113, 115 (D.D.C. 2012) (quoting SEC v. Dresser Indus., Inc., 628 F.2d 1368,

1375 (D.C. Cir. 1980)). This is because “the power to stay proceedings is incidental to

the power inherent in every court to control the disposition of the causes on its

docket.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). The Court may “stay civil

proceedings, postpone civil discovery or impose protective orders and conditions when

the interests of justice seem to require such action.” Kurd v. Republic of Turkey, No.




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18-1117 (CKK), 2022 WL 17961245, at *1 (D.D.C. Dec. 27, 2022) (quoting Dresser

Indus., Inc., 628 F.2d at 1375).

                                      ARGUMENT

   I.      A Stay is Necessary to Avoid Prejudicing the Criminal Proceedings Against
           President Trump

        “It is well-established that a district court has discretionary authority to stay

a civil proceeding pending the outcome of a parallel criminal case when the interests

of justice so require.” Kurd, 2022 WL 17961245 at *1. See generally United States v.

Kordel, 397 U.S. 1, 12 n.27 (1970) (“Federal courts have deferred civil proceedings

pending the completion of parallel criminal prosecutions when the interests of justice

seemed to require such action . . . .”). As this Court has previously explained, “[c]ourts

are afforded this discretion because the denial of a stay could impair a party's Fifth

Amendment privilege against self-incrimination, extend criminal discovery beyond

the limits set forth in Federal Rule of Criminal Procedure 16(b), expose the defense's

theory to the prosecution in advance of trial, or otherwise prejudice the criminal case.”

Kurd, 2022 WL 17961245 at *1 (citing Dresser Indus., Inc., 628 F.2d at 1376).

        There are four factors a court should consider when determining whether to

stay a civil proceeding due to a related criminal proceeding: “1) the relationship

between the civil and criminal actions; 2) the burden on the court; 3) the hardships

or inequalities the parties would face if a stay was granted; and 4) the duration of the

requested stay.” Id. (quoting Sipper, 869 F. Supp. 2d at 116). The Court must weigh

the circumstances of each case when making this decision. Dresser Indus., Inc., 628

F.2d at 1375.


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   A. The Criminal Proceedings Against President Trump are “Co-Extensive” with
      Allegations in These Cases

      “[T]he D.C. Circuit has recognized that ‘the strongest case for deferring civil

proceedings until after completion of criminal proceedings is where,’ as here, ‘a party

under indictment for a serious offense is required to defend a civil or administrative

action involving the same matter.’” Kurd, at *2 (quoting Dresser Indus., Inc., 628 F.2d

at 1375–76). Indeed, the relationship between civil and criminal actions “is ‘often

viewed as the most significant factor in the balancing test.’” Id. (quoting Estate of

Gaither ex rel. Gaither v. District of Columbia., No. Civ. A. 03-1458 (CKK), 2005 WL

3272130, at *4 (D.D.C. Dec. 5, 2005)). This factor decisively counsels in favor of

staying these proceedings.

      It is undisputed that there is substantial overlap between the allegations in

these proceedings and the allegations in the Special Counsel’s D.C. case. At the status

conference on March 12, 2024, this Court twice observed that the allegations in these

cases and those in the Special Counsel’s D.C. case are “co-extensive.” See Hr’g Tr.

(Mar. 12, 2024) 12:17–19 (“They overlap completely, at least the Special Counsel’s

case, I think, essentially is co-extensive in many respects.”), 18:20–22 (“That’s all

contextual, which is fair, but, you know, the allegations here are essentially co-

extensive with what the Special Counsel has alleged.”). Counsel for Plaintiffs—and

Plaintiffs’ primary spokesman at the recent status conferences—Mr. Sellers

acknowledged as much, at least “[i]n some respects.” Id. 18:23.

      The Government has brought four charges against President Trump in the

D.C. case, which carry a maximum penalty of decades in prison. These are serious


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potential consequences for any criminal defendant. Given the “co-extensive” nature

of the allegations in this case with those in the criminal matter, this factor weighs

decisively in favor of staying these proceedings.

   B. Proceeding with this case would burden the Court.

      Proceeding with this case, at this time, would present this Court with

significant unnecessary burdens.

      Proceeding with this case now would result in various privilege battles.

President Trump should not be forced to waive his constitutional rights here, and

therefore this Court would be burdened with a “constant stream of privilege issues.”

Walsh Sec., Inc. v. Cristo Prop. Mgmt, 7 F. Supp. 2d 523, 528 (D.N.J. 1998). But this

would be only a temporary state of play that a stay would prevent. See Aluminum

Bahrain B.S.C. v. Dahleh, No. 8–299, 2012 WL 5305167, at *2 (W.D. Pa. Oct. 25 2012)

(recognizing that criminal defendants will be able to candidly participate in the

discovery process following the criminal trial). A stay prevents the Court from

needing to hear various disputes. See Sipper, 869 F. Supp. 2d at 117 (holding that

“the Court has an interest in avoiding unnecessary litigation that would burden its

docket and hamper judicial economy.”) (quotations and citations omitted).

      In addition to avoiding significant disputes over constitutional claims, staying

this case until the end of the criminal proceeding could streamline discovery—

including the immunity discovery—in this case. The cases involve similar issues;

thus, any discovery in the criminal case would likely reduce the need for a large

amount of discovery in this case. See Estate of Gaither ex rel. Gaither, 2005 WL



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3272130, at *4. Therefore, “judicial economy and the convenience of the court” weigh

in favor of a stay. Id.

   C. The balance of interests weighs in favor of a stay.

       While there are many factors to consider when weighing the parties’ interests,

perhaps the most significant factor is how a defendant’s constitutional rights will

impact the civil proceedings. Sipper, 869 F. Supp. 2d at 117–18. This is because it is

“not fair to force [a] party to choose between Fifth Amendment privilege and the civil

action.” Id. at 117 (citing Wehling v. Columbia Broad. Sys., 608 F.2d 1084, 1088–89

(5th Cir. 1979)). In Sipper, this concern outweighed the plaintiff’s interest in a quick

resolution. Id.

       The Fifth Amendment right is foundational to this Nation’s dedication to the

rule of law. President Trump has been indicted and is entitled to the full protection

of constitutional rights. See Pillsbury Co. v. Conboy, 459 U.S. 248, 266 n.1 (1983)

(Marshall, J., concurring). See also Kastigar v. United States, 406 U.S. 441, 465–66

(1972) (Douglas, J., dissenting). He is clearly entitled to invoke his rights in this

matter, including with respect to any discovery proceedings. See Ohio v. Reiner, 532

U.S. 17, 21 (2001).

       While President Trump would be entitled to a presumption of innocence during

his criminal trial that would include preventing any judge or jury from inferring any

negative connotation from his invocation of his Fifth Amendment rights, should he

choose to invoke such rights, the same is not true in a civil case. Rather, in a civil

case, inferences may be drawn against a defendant who asserts his Fifth Amendment



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rights. Allowing such an inference against President Trump—or any litigant—in the

event he asserted such rights during an ongoing criminal trial would unfairly require

them to choose between their Fifth Amendment protection or civil litigation. This

would directly undermine a key tenet of the Fifth Amendment protection—the

privilege offers protection to “innocent men … ‘who otherwise might be ensnared by

ambiguous circumstances.’” Reiner, 532 U.S. at 21 (emphasis in original) (citing

Grunewald v. United States, 353 U.S. 391, 421 (1957)).

      Given the substantial overlap in factual and legal allegations between these

cases and the D.C. criminal case, there is also a substantial risk that proceeding in

this matter now will “expose the defense's theory to the prosecution in advance of

trial.” Kurd, 2022 WL 17961245 at *1 (citing Dresser Indus., Inc., 628 F.2d at 1376).

This would prejudice President Trump’s ability to effectively defend himself in both

these civil cases and the Special Counsel criminal matter.

      Staying these proceedings for the duration of the criminal proceedings has the

added benefit of promoting principles of judicial economy. The issue of presidential

immunity is a key issue at this stage in these proceedings. Indeed, this case cannot

move forward with respect to President Trump until the issue of immunity is

resolved. On February 28, 2024, the United States Supreme Court granted President

Trump’s Petition for Writ of Certiorari in Trump v. United States, No. 23-939 (S. Ct.

Feb. 28, 2024). The sole question for the Court’s consideration is “whether and if so

to what extent does a former president enjoy presidential immunity from criminal

prosecution for conduct alleged to involve official acts during his tenure in office.”



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      The Court’s consideration and resolution of this question is likely to be highly

relevant to the question of presidential immunity in civil cases presented in this

matter. To wit, in resolving the question presented in Trump, the Court may set forth

at least some material factors for assessing presidential immunity, and if not, the

district court may do so upon remand. These factors may well influence, or even

determine, how the parties address the questions posed by the Court at the February

23 status conference: (1) what are the objective facts to establish official act

immunity; (2) to what extent are factors alleged in the complaint going to be contested

as part of assessing official act immunity; and (3) the extent to which there are going

to be disputes of fact that will need further development and discovery, along with

what that discovery entails.

       The Court’s first question—what objective facts are necessary to establish

official act immunity—speaks directly to the issues that are likely to be addressed in

Trump. The Court’s subsequent questions follow from the identification of relevant

factors. Accordingly, principles of sound judicial economy, as well as the underlying

imperative of protecting persons who are immune from suit from the burdens of

litigation, counsel against providing answers to the Court’s questions until after the

Supreme Court resolves Trump.

      This view is bolstered by the briefing schedule set by the Court in Trump: the

Court ordered Petitioner’s brief on the merits to be filed on or before March 19, 2024,

Respondent’s brief on the merits to be filed on or before April 8, 2024, Petitioner’s

reply brief, if any, to be filed on or before April 15, 2024, and set oral argument for



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April 25, 2024. See Order Granting Writ of Cert., Trump v. United States, No. 23-939

(S. Ct. Feb. 28, 2024). Waiting for the courts to resolve President Trump’s criminal

matter has the added benefit of promoting judicial economy in addressing his

immunity claims in this matter.

      Lastly, the Court may consider the public interest in a stay. Sipper, 869 F.

Supp. 2d at 118. It is in the public interest for the Court to stay this case so that

President Trump may pursue his rights in the criminal proceeding without being

impaired by the need also to consider the issues presented in this civil litigation.

President Trump is a former President, the current nominee of the Republican Party

for President in 2024, and the overall leading candidate in that election. The

appearance of justice is often as important as justice itself. As discussed above, if

President Trump is hampered by the civil litigation issues presented in this case, or

worse, forced to choose between presenting his strongest defense in one case or the

other, the appearance of justice could easily be damaged. Accordingly, it is in the

public interest to allow President Trump to defend the criminal proceeding against

him without the burden of this case.

      While Plaintiffs may have an interest in having their day in Court—and, of

course, this stay motion seeks to determine only when, not whether, they will have

it—this interest is outweighed by the serious and consequential burdens of

proceeding with this litigation with respect to President Trump while the criminal

case is ongoing. The balance of interests favors a stay.




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D. The Duration of the Stay

      This case must be stayed for the duration of President Trump’s criminal

proceedings in the indictment in United States v. Trump, No. 1:23-cr-00257 (D.D.C.).

As this Court has found, “the strongest case for deferring civil proceedings until after

completion of criminal proceedings is where a party under indictment for a serious

offense is required to defend a civil or administrative action involving the same

matter.” Dresser Indus., Inc., 628 F.2d at 1375–76. The D.C. Circuit has recognized

that when there is a pressing need, an indefinite stay may be warranted. McSurely

v. McClellan, 426 F.2d 664, 671 (D.C. Cir. 1970).

      Given the seriousness of the charges, as well as the extraordinary impact on

our Nation as a whole, there is a pressing need to stay this case as to President Trump

for the duration of the criminal proceedings against him, so that he may diligently

pursue his rights.

                                    CONCLUSION

      For the foregoing reasons, this Court should stay all proceedings concerning

President Trump until the criminal case brought by the Special Counsel in the

District of Columbia is resolved.




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Dated: March 19, 2024        Respectfully submitted,



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